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 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12 DARLENE LEDESMA, an individual,                Case No. 8:21-cv-00822-JLS-JDE
13         Plaintiff,                             ORDER DISMISSING ENTIRE
                                                  ACTION WITH PREJUDICE (DOC.
14         vs.                                    15)
15 JADE RANGE, LLC, a Delaware Limited
   Liability Company and DOES 1 through
16 20, Inclusive,
17         Defendant.
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20                                        ORDER
21         IT IS SO ORDERED that this action shall be dismissed in its entirety, with
22 prejudice, with each party to bear its own costs and fees.
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24 Date: October 12, 2021
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                                           HON. JOSEPHINE L. STATON
26                                         UNITED STATES DISTRICT JUDGE
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